




DISMISSAL FORM FOR CRIMINAL CASES ON ANT'S MOTION/OR WD NOA         




		NO. 12-00-00025-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




JAMARIOS LECHRISTOPHER CANTON,§
	APPEAL FROM THE 123RD

APPELLANT


V.§
	JUDICIAL DISTRICT COURT OF


THE STATE OF TEXAS,

APPELLEE§
	SHELBY COUNTY, TEXAS







PER CURIAM


	Appellant has filed a motion to dismiss the appeal.  The motion is signed by Appellant and
his counsel.  No decision having been delivered by this Court, the motion is granted, and the appeal
is dismissed in accordance with Texas Rule of Appellate Procedure 42.2.


Opinion delivered November 30, 2001.

Panel consisted of Davis, C.J., Worthen, J., and Griffith, J.














(DO NOT PUBLISH)


